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     Attorney at Law
 2   1007 7th Street, Suite 319
     Sacramento, CA 95814
 3   Telephone: 916-442-5230
 4   Attorney for:
     CUONG HOANG
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )        CASE NO. 2:10-CR-00168-JAM
                                   )
11                  Plaintiff,     )        STIPULATION AND ORDER CONTINUING
                                   )        DETENTION HEARING
12        v.                       )
                                   )
13   CUONG HOANG, et. al,          )        DATE:        May 14, 2010
                                   )        TIME:        2:00 p.m.
14                  Defendants.    )        COURT:       Hon. Edmund F. Brennan
     ______________________________)
15
                                      Stipulation
16
          The parties, through undersigned counsel, stipulate that the
17
     detention hearing scheduled for May 14, 2010, at 2:00 p.m., may be
18
     vacated, and the due date for defendant CUONG HOANG to obtain and file
19
     an appearance bond secured with $50,000, of home equity, may be
20
     extended to June 4, 2010.
21
          The   defense   is   in   the   process   of    obtaining   all   requisite
22
     documentation, to present to prosecutor, relating to a deed of trust
23
     on the defendant’ brother’s residence in Maryland.                 Due to the
24
     difference in the laws of Maryland and the fact that defendant’s
25
     brother does not speak English, the additional time is required.
26
     Defendant’s brother has retained bi-lingual counsel in Maryland which
27
     will now expedite the process.
28

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 1         The prosecutor has authorized defense counsel to sign this
 2   stipulation on his behalf.
 3   DATED: May 12, 2010                  BENJAMIN WAGNER
                                          United States Attorney
 4
 5                                 by     /s/ Scott Cameron, for
                                          Todd Leras
 6                                        Assistant U.S. Attorney
 7
     DATED: May 12, 2010           by     /s/ Scott N. Cameron
 8                                        Scott N. Cameron
                                          Counsel for CUONG HOANG
 9
10                                         Order
11         Good cause appearing,
12         The detention hearing scheduled for May 14, 2010, is vacated and
13   the   due   date   for   defendant   CUONG    HOANG   to   obtain   and   file   an
14   appearance bond secured with $50,000, of home equity, is extended to
15   June 4, 2010.
16
17         IT IS SO ORDERED.
18
19   DATED: May 12, 2010.
20
21
22
23
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